Case 2:02-cr-20356-STA Document 339 Filed 06/08/05 Page 1 of 2 Page|D 448

IN THE UNITED sTATEs DISTRICT CoURT FIU?D B"t' §§ D.C-
FoR THE WEsTERN DISTRICT oF TENNEssEE

WESTERN DIVISION 05 JUH -8 AM 9= 32

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UNITED sTATEs oF AMERICA, CLEH§;r U_S` D|S;_ OT'
W.D‘ OF ‘I“N, rv'»*.;‘l‘v€Pl-HS

Plaintiff,
v. No. 02-20356-B/V

WILLIAM HOLLAND,

Defendant.

 

ORDER OF REFERENCE

 

Before the Court is a letter filed with the Court on June 7, 2005, which the Court
construes as Defendant’s motion for appointment of new counsel.

This written request is referred to the United States Magistrate Judge for determination
Any objections to the magistrate judge’s order shall be made within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons for
the objections.

IT IS SO ORDERED this fkday of June, 2005.

f

J. DANIEL BREEN\
NIT ED STATES DISTRICT JUDGE

 

 

Thls document entered on the docket sheet in compliance
with sum ss ann/or 32(1:)) FHch on ~§“Os/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 339 in
case 2:02-CR-20356 Was distributed by faX, mail, or direct printing on
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Honorable J. Breeri
US DISTRICT COURT

